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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )              Case No. 8:11CR386
                    Plaintiff,               )
                                             )
      vs.                                    )
                                             )
IBRAHIM Z. MATARI and                        )                    ORDER
CRYSTAL L. FOSTER,                           )
                                             )
                    Defendants.              )


      This matter is before the court on the defendant Crystal L. Foster's Motions to Sever

(#28) and to Change Name of Defendant (#30). The motion for severance is joined by

defendant Ibrahim Z. Matari, Motion to Join (#32). The Motion to Sever raises the issue

of joinder of defendants for trial and alleges that the defendants should be severed under

Fed. R. Crim. P. 14(a) in that a joint trial would prejudice Foster and violate her Sixth

Amendment right to confrontation. The court ordered a response brief by the United

States, and the government filed its brief (#36) in opposition on March 14, 2012.

                                 Motion for Severance

      Defendants Foster and Matari are charged by indictment with one count of

Conspiracy to commit Marriage Fraud and one count of Marriage Fraud, aiding and

abetting. The defendants move for severance based upon Fed. R. Crim. P. 14(a). The

government counters that joinder is proper under both Rule 8(b) and Rule 14 of the Federal

Rules of Criminal Procedure and that severance is not required.

      The government contends that joinder is proper under Rule 14 of the Federal Rules

of Criminal Procedure and that severance is not required.
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Relief from prejudicial joinder is governed by Fed. R. Crim. P. 14:

              “When a defendant moves for a severance, a district court must first
       determine whether joinder is proper under Federal Rule of Criminal
       Procedure 8. If joinder is proper, the court still has discretion to order a
       severance under Federal Rule of Criminal Procedure 14.” United States v.
       Darden, 70 F.3d 1507, 1526 (8th Cir. 1995), cert. denied, [517 U.S. 1149 &
       1026 (1996). Rule 8 and Rule 14 are to be given a liberal construction in
       favor of joining the trial of several defendants. Id.

               Rule 8 permits the joinder of defendants “if they are alleged to have
       participated in the same act or transaction or in the same series of acts or
       transactions constituting an offense or offenses.” Fed. R. Crim. P.8. For
       proper joinder under this provision, [i]t is not necessary that every defendant
       have participated in or be charged with each offense.” Darden, 70 F.3d at
       1527 (internal quotations omitted)....

              If joinder is proper under Rule 8, the defendant seeking severance
       has the heavy burden of demonstrating that a joint trial will impermissibly
       infringe his right to a fair trial. Id. This burden may be satisfied by showing
       that the jury was unable to compartmentalize the evidence against each
       defendant or that the defendants’ defenses are irreconcilable. [United States
       v. Jackson, 64 F.3d 1213, 1217 (8th Cir. 1995)].


United States v. Warfield, 97 F.3d 1014, 1018-19 (8th Cir.), cert. denied, 520 U.S.

1110 (1996).

       Defendants contend they will be unfairly prejudiced because each have made

statements implicating the other in the charged offenses. They argue that any attempt to

introduce the co-defendant's statements at rial would be violative of their sixth amendment

rights. See Bruton v. United States, 391 U.S. 123 (1968).

       This problem was addressed in United States v. Miller, 995 F.2d 865, 867 (8th Cir.),

cert. denied, 510 U.S. 1018 (1993):

       In Bruton v. United States, 391 U.S. 123, 126, 88 S. Ct. 1620, 1622, 20 L.
       Ed. 2d 476 (1968), the Supreme Court held that the admission in a joint trial
       of a nontestifying codefendant’s confession expressly implicating the
       defendant violated the defendant’s right under the Sixth Amendment to

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       confront the witnesses against him, even if the trial court instructed the jury
       to consider the confession only against the co-defendant that had made the
       statement. In a more recent case, however, the Court held that “the
       Confrontation Clause is not violated by the admission of a nontestifying
       codefendant’s confession with a proper limiting instruction when, as here, the
       confession is redacted to eliminate not only the defendant’s name, but any
       reference to his or her existence.” Richardson v. Marsh, 481 U.S. 200, 211,
       107 S. Ct. 1702, 1709, 95 L.Ed. 176 (1987). We have subsequently held that
       the Confrontation Clause is not violated where a defendant’s name is
       replaced by a neutral pronoun and the redacted confession implicates the
       defendant only when connected with other evidence in the case. See, e.g.,
       United States v. Donahue, 948 F.2d 438, 444 (8th Cir. 1991), cert. denied,
       [503 U.S. 976] (1992); United States v. Garcia, 836 F.2d 385, 390 (8th Cir.
       1987); but see United States v. Long, 900 F.2d 1270, 1280 (8th Cir. 1990)
       (Bruton violated where redacted confession and co-defendant’s cross-
       examinationof witness “led the jury straight to the conclusion that ‘someone’
       referred to [the defendant]”).

       See also United States v. Pou, 953 F.2d 363, 368-69 (8th Cir), cert. denied, 504 U.S.

926 (1992).

       The law of severance is well settled. Generally, persons charged with conspiracy

on similar evidence should be tried together. The standard for severance is high and the

prejudice must be compelling. Additionally, Fed. R. Evid. 801(d)(2)(E) allows for hearsay

statements in furtherance of a conspiracy to be admitted.

       Foster argues that Crawford v. Washington, 541 U.S. 36 (2004) requires severance

as the statements in this case are testimonial in nature. I find that they are not. United

States v. Lee, 374 F.3d 637 (8th Cir. 2004), holding that similar statements were not

hearsay and that Crawford does not apply to co-conspirator hearsay as such hearsay is not

testimonial.




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                         Motion to Change Name of Defendant

       Crystal L. Foster moves the court to Change Name of Defendant (#30). I find the

motion is premature and that the issue is better addressed in a motion in limine with the

trial court. The motion is denied without prejudice to the issue being raised at a later time.

       IT IS ORDERED:

       1. Defendant Foster's Motions, for Severance (#28) and to Change Name of

Defendant (#30), are denied without hearing.

       2. Defendant Matari's Motion to Join in Co-defendant's Motions (#32) is denied

without hearing.

       Dated this 23rd day of March 2012.

                                           BY THE COURT:


                                           S/ F.A. Gossett, III
                                           United States Magistrate Judge



                                           Notice

A party may object to a magistrate judge's order by filing an "Objection to Magistrate
Judge's Order" within 14 days after being served with the order. The objecting party must
comply with all requirements of NECrimR 59.2.




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